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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                             WESTERN DISTRICT

                                             CR 5:20-mj-75
  IN THE MATTER OF THE SEARCH OF:
                                             REDACTED
  The premises known as the offices of
                                             AFFIDAVIT IN SUPPORT OF
  Google Inc ., 1600 Amphitheatre
                                             SEARCH WARRANT
  Parkway , Mountain View, CA 94043
                                             APPLICATION
  Account: aswift889@gmail.com


State of South Dakota    )
                         ) ss
County of Pennington     )

                 INTRODUCTION AND AGENT BACKGROUND

      I, Brent Gromer, being duly sworn, state as follows:

      1.    I am a Supervisory Special Agent with the South Dakota Division of

Criminal Investigation. I have been employed as a Law Enforcement Officer in

the State of South Dakota for over 23 years. In 2018, I became a Task Force

Officer (TFO) for the Fed eral Bureau of Investigation. I have been involved in

numerous investigations into all manner of crime. I have received training in

Search and Seizure from the South Dakota Attorney General's Office, United

States Attorney's Office, the United States Drug Enforcement Administration,

Federal Bureau of Investigation and other private training organizations. I have

personally prepared numerous affidavits in support of request for search

warrant. State and Federal courts have granted search warrants based on those

affidavits that have withstood suppression efforts.

      2.    Since June of 2010, I have been assigned to the Internet Crimes

Against Children (ICAC) Task Force in South Dakota. During that time, I have
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received additional training in collecting, preservmg and analyzing evidence

stored in different digital formats. The following is a list of specialized training I

have   received   in   conducting digital investigations      and   digital   forensic

examinations:

         •   Peer-to-Peer Computer Investigations
         •   Access Data BootCamp
         •   ICAC Unit Supervisor
         •   Internet Forensics
         •   Windows 7 Forensics
         •   Internet Relay Chat
         •   MAC Forensics
         •   Basic Data Recovery and Acquisition
         •   Intermediate Data Recovery and Acquistion
         •   Secure Techniques for On-Scene Preview
         •   Identification and Seizure of Electronic Evidence
         •   ICAC Ares
         •   Child Exploitation
         •   ICAC eMule Investigations
         •   Child Pornography the Ultimate Tool to Rescue Children
         •   ICAC BitTorrent Investigations
         •   Identification of Child Sex Trafficking
         •   NUIX Basic
         •   Cybertip Management
         •   2014 Techno Security Conference
         •   2015 National ICAC Conference
         •   2015 Crimes Against Children Conference
         •   Android Open Source Forensics - Epyx Forensics
         •   Online Ads Investigations
         •   Undercover Chat Investigations
         •   Forensics Investigations with NetClean/ Griffeye Analyze
         •   2016 National ICAC Conference
         •   2016 State of the States Cyber Crime Conference
         •   2016 Florida ICAC Symposium
         •   201 7 Association of State Criminal Investigative Agencies
         •   201 7 Sex Offender Registry Conference
         •   201 7 South Dakota Technology Teachers Conference
         •   2017 US Attorney's Office Law Enforcement Coordinating
             Committee Training Seminar
         •   201 7 South Dakota Society for Technology in Education
             Conference
         •   Cellebrite Training

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           •   2018 Appointed as a Special Deputy US Marshall under the
               Federal Bureau of Investigation
           •   Co-Chair National Internet Crimes Against Child Emerging
               Technology Committee
           •   South Dakota Center for the Prevention of Child Maltreatment
               Advisory Board Member.
           •   Griffeye Analyze DI Training.

      3.       In addition to the training I have received, I have presented to

numerous professional groups and organizations and have testified as an expert

on numerous occasions in US District Court, US Magistrate Court, and South

Dakota Circuit Court.

      4.       During my law enforcement career, I have been involved in the

investigation of cases involving the possession, receipt, and distribution of child

pornography in violation of 18 U.S.C. §§ 2251, 2252, and 2252A and enticement

of a minor using the internet in violation of 18 U.S.C. § 2422(b). I have become

familiar with the modus operandi of persons involved in the illegal production,

distribution and possession of child pornography and enticement of a minor

using the internet. Based on my experience and training, I am knowledgeable of

the various means utilized by individuals who illegally produce, distribute,

receive and possess child pornography.

      5.       I am aware that 18 U.S.C. §§ 2251, 2252 and 2252A, prohibit the

production, distribution, receipt and possession of visual depictions of a minor

engaging in sexually explicit conduct, using any means or facility of interstate

or foreign commerce, including by computer or utilizing the internet. I am also

aware that 18 U.S.C. § 2422(b) criminalizes enticement of a person under 18 to

engage in unlawful sex acts utilizing the internet.

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      6.      The facts set forth in this affidavit are based on my personal

knowledge, knowledge obtained from other individuals, including other law

enforcement officers, interviews of persons with knowledge, my review of

documents, interview reports and computer records related to this investigation,

communications with others who have personal knowledge of the events and

circumstances described herein, and information gained through my training

and experience.      This affidavit contains information necessary to support

probable cause for this application and does not contain every material fact that

I have learned during the course of this investigation; however, I have not

withheld information known to me that would tend to negate probable cause has

been withheld from this affidavit.

                    ITEMS TO BE SEARCHED FOR AND SEIZED:

      7.      This affidavit is submitted in support of an application for a search

warrant for the contents of and information pertaining to a Google, Inc. account

found during the investigation of an unknown subject utilizing the Target

Account, which is more specifically described in Attachment A, for contraband

and evidence, fruits, and instrumentalities of violations of 18 U.S .C. §§ 2251,

2252, and 2252A (production, receipt and possession of child pornography) and

.18 U.S.C. § 2422(b), attempted enticement of a minor using the internet, and

which items are more specifically described in Attachment B.           The Gmail

account is: aswift889@gmail.com (also referred to in this affidavit as "Target

Account") .




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                                  DEFINITIONS

      8.    The following definitions apply to this Affidavit and Attachments A

and B :

            a.     "Chat,"   as   used   herein,   refers   to   any   kind   of text

      communication transmitted over the Internet in real-time from sender to

      receiver.   Chat messages are generally short in order to enable other

      participants to respond quickly and in a format, that resembles an oral

      conversation . This feature distinguishes chatting from other text-based

      online communications such as Internet forums and email.

            b.     "Child Erotica," as used herein, means materials or items that

      are sexually arousing to persons having a sexual interest in minors but

      that are not necessarily, in and of themselves, obscene or that do not

      necessarily depict minors in sexually explicit poses or positions .

            c.     "Child pornography," as defined in 18 U.S.C. § 2256(8), is any

      visual depiction of sexually explicit conduct where (a) the production of the

      visual depiction involved the use of a minor engaged in sexually explicit

      conduct, (b) the visual depiction is a digital image, computer image, or

      computer-generated image that is, or is indistinguishable from, that of a

      minor engaged in sexually explicit conduct, or (c) the visual depiction has

      been created, adapted, or modified to appear that an identifiable minor is

      engaged in sexually explicit conduct.

            d.     "Cloud-based storage service," as used herein, refers to a

      pu blically accessible, online storage provider that collectors of child

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    pornography can use to store and trade child pornography in larger

    volumes.      Users of such a service can share links and associated

    passwords to their stored files with other traders of child pornography in

    order to grant access to their collections. Such services allow individuals

    to access these files easily through a wide variety of electronic devices such

    as desktop and laptop computers, mobile phones, and tablets, anywhere

    and at any time. An individual with the password to file stored on a cloud-

    based service does not need to be a user of the service to access the file .

    Access is free and readily available to anyone who has an internet

    connection.

          e.      "Computer," as used herein, refers to "an electronic,

    magnetic, optical, electrochemical, or other high speed data processing

    device performing logical or storage functions, and includes any data

    storage facility or communications facility directly related to or operating

    in conjunction with such device" and includes smartphones, and mobile

    phones and devices. See 18 U.S.C . § 1030(e)(l).

          f.      "Computer hardware," as used herein,          consists of all

    equipment, which can receive, capture, collect, analyze, create, display,

    convert, store, conceal, or transmit electronic, magnetic, or similar

    computer impulses or data.        Computer hardware includes any data-

    processing devices (including, but not limited to, central processing units,

    internal and peripheral storage devices such as fixed disks, external hard

    drives, floppy disk drives and diskettes, and other memory storage

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    devices); peripheral input/ output devices (including, but not limited to,

    keyboards, printers, video display monitors, and related communications

    devices such as cables and connections), as well as any devices,

    mechanisms, or parts that can be used to restrict access to computer

    hardware (including, but not limited to, physical keys and locks).

          g.     "Computer software," as used herein, is digital information,

    which a computer can interpret and any of its related components to direct

    the way they work. Computer software is stored in electronic, magnetic,

    or other digital form.    It commonly includes programs to run operating

    systems, applications, and utilities.

          h.     "Computer-related documentation," as used herein, consists

    of written, recorded, printed, or electronically stored material, which

    explains or illustrates how to configure or use computer hardware,

    computer software, or other related items.

          1.    "Computer passwords,         pass-phrases   and   data security

    devices," as used herein, consist of information or items designed to

    restrict access to or hide computer software, documentation, or data. Data

    security devices may consist of hardware, software, or other programming

    code. A password or pass-phrase (a string of alphanumeric characters)

    usually operates as a sort of digital key to "unlock" particular data security

    devices. Data security hardware may include encryption devices, chips,

    and circuit boards.      Data security software of digital code may include

    programming code that creates "test" keys or "hot" keys, which perform

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     certain pre-set security functions when touched . Data security software

     or code may also encrypt, compress, hide, or "booby-trap" protected data

     to make it inaccessible or unusable, as well as reverse the progress to

     restore it.

           J.      A provider of "Electronic Communication Service" ("ESP") , as

     defined m 18 U,S.C. § 2510(15), is any service that provides to users

     thereof the ability to send or receive wire or electronic communications.

     For example, "telephone companies and electronic mail companies"

     generally act as providers of electronic communication services . See S.

     Rep. No . 99-541 (1986), reprinted in 1986 U.S.C.C.A.N. 3555, 3568.

            k.     "Electronic Storage Device" includes but is not limited to

     external and internal hard drives, thumb drives, flash drives, SD cards,

     gaming devices with storage capability, storage discs (CDs and DVDs),

     cameras, cellular phones, smart phones and phones with photo-taking

     and/ or internet access capabilities, and any "cloud" storage by any

     provider.

            1.     "File Transfer Protocol" ("FTP''), as used herein, is a standard

     network protocol used to transfer computer files from one host to another

     over a computer network, such as the Internet.        FTP is built on client-

     server architecture and uses separate control and data connections

     between the client and the server.

            m.     "Internet Protocol address" or "IP address," as used herein,

     refers to a unique number used by a computer to access the Internet. IP


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     addresses can be "dynamic," meanmg that the ISP assigns a different

     unique number to a computer every time it accesses the Internet.         IP

     addresses might also be "static," if an ISP assigns a user's computer a

     particular IP address that is used each time the computer accesses the

     Internet.

           n.     "Internet Service Providers" ("ISPs"), as used herein, are

     commercial organizations that are in business to provide individuals and

     businesses access to the Internet. ISPs provide a range of functions for

     their customers including access to the Internet, web hosting, e-mail,

     remote storage, and co-location of computers and other communications

     equipment.

           o.     "Network Address Translation" or "Nat" or "Natting'' as used

     herein is a method of remapping one IP address space into another by

     modifying network address information while then are in transit across a

     traffic routing device . It became popular when the need to preserve global

     address space arose. One internet-routable IP address of a NAT gateway

     can be used for an entire private network.

           p.     "Records," "documents," and "materials," as used herein,

     include all information recorded in any form, · visual or aural, and by any

     means, whether in handmade, photographic, mechanical, electrical,

     electronic, or magnetic form.

           q.     "Remote Computing Service" ("RCS"), as defined in 18 U.S.C.

     § 2711(2), is the provision to the public of computer storage or processing


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     services by means of an .electronic communications system.

           r.    "Short Message Service" ("SMS"), as used herein, is a service

     used to send text messages to mobile phones. SMS is also often referred

     to as texting, sending text messages or text messaging. The service allows

     the user to send short text messages from one cell phone to another cell

     phone or from the Web to another cell phone. The term "computer," as

     defined in 18 U.S.C. § 1030(e)(l), means an electronic, magnetic, optical,

     electrochemical, or other high speed data processing device performing

     logical, arithmetic , or storage functions, and includes any data storage

     facility or communications facility directly related to or operating in

     conjunction with such device.

           s.    "Sexually explicit conduct," as defined in 18 U.S .C. § 2256(2),

     means actual or simulated (a) sexual intercourse, including genital-

     genital, oral-genital, or oral-anal, whether between persons of the same or

     opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic

     abuse; or (e) lascivious exhibition of the genitals or pubic area of any

     person.

           t.    "Visual depiction," as defined in 18 U.S.C. § 2256(5), includes

     undeveloped film and videotape, data stored on computer disc or other

     electronic means which is capable of conversion into a visual image, and

     data which is capable of conversion into a visual image that has been

     transmitted by any means, whether or not stored in a permanent format.




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  BACKGROUND ON CHILD EXPLOITATION AND CHILD PORNOGRAPHY,
            COMPUTERS, THE INTERNET, AND EMAIL

      9.    I have had both training and experience in the investigation of

computer-related crimes. Based on my training, experience, and knowledge, I

know the following:

            a.      Computers and digital technology have dramatically changed

      the way in which individuals interested in child pornography interact with

      each other.     Computers serve many functions for persons who exploit

      children online; they serve as a mechanism for meeting child-victims and

      communicate with them; they serve as a mechanism to get images of the

      children and send images of themselves ; computers serve as the manner

      in which persons who exploit children online can meet one another and

      compare notes.

            b.        Persons, who exploit children online, can now transfer

      printed photographs into a computer-readable format with a device known

      as a scanner and then distribute the images using email, like Gmail and

     Yahoo! Inc.       Furthermore, with the advent of digital cameras and

      smartphones with cameras, when the photograph is taken it is saved as a

      digital file that can be directly transferred to a computer by simply

      connecting the camera or smartphone to the computer. In the last ten

     years, the resolution of pictures taken by digital cameras and smartphones

      has increased dramatically, meaning that such pictures have become

      sharper and crisper. Photos taken on a digital camera or smartphone may

      be stored on a removable memory card in the camera or smartphone.
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     These memory cards often store up to 32 gigabytes of data, which provides

     enough space to store thousands of high-resolution photographs. Video

     camcorders, which once recorded video onto tapes or mini-CDs, now can

     save video footage in a digital format directly to a hard drive in the camera.

     The user can easily transfer video files from the camcorder to a computer.

              c.       A device known as a modem allows any computer to connect

     to another computer with telephone, cable, or wireless connection. People

     can make electronic contact to literally millions of computers around the

     world.        The ability to produce child pornography easily, reproduce it

     inexpensively,       and   market    it   anonymously    (through   electronic

     communications) has drastically changed the method of distribution and

     receipt of child pornography. Persons can transfer child pornography via

     electronic mail or through file transfer protocols (FTPs) to anyone with

     access to a computer and modem.              Because of the proliferation of

     commercial services that provide electronic mail service, chat services (i.e.,

     "instant messaging"), and easy access to the Internet, the computer is a .

     preferred method of distribution and receipt of child pornographic

     materials.

              d.      The Internet affords individuals several different venues for

     meeting and exploiting children in a relatively secure and anonymous

     fashion.

              e.       Individuals also use online resources to exploit children,

     including services offered by Internet Portals such as Gmail and Hotmail,

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      among others. The online services allow a user to set up an account with

      a remote computing service that provides e-mail services as well as

      electronic storage of computer files in any variety of formats. A user can

      set up an online storage account from any computer with access to the

      Internet. Even in cases where a user utilizes online storage is, evidence of

      child pornography can be found on the user's computer or external media

      in most cases.

      10.    Based on my training and experience and investigation in this case,

I have learned the following about Google:

            a.     Google offers an e-mail service that is available free to Internet

      users called "Gmail." Stored electronic communications, including opened

      and unopened e-mail for Gmail subscribers may be located on Google's

      computers.

            b.     Google   maintains    electronic   records   pertaining   to   the

      individuals and companies for which they maintain subsc·r iber accounts.

      These records include account access information, e-mail transaction

      information, and account application information.

            c.     Subscribers can access their Gmail e-mail accounts by

      activating software on a device or computer, login in using unique

      usernames and         passwords, and connecting to high-speed Internet

      computers    called   "servers" maintained      and/ or owned     by   Google.

      Subscribers also may be able to access their accounts from any other

      computer in the world through Google's web site on the Internet.

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            d.      When a user sends any e-mail to a Gmail e-mail subscriber

      the email is stored in the subscriber's "mail box" on Google's servers until

      the subscriber deletes it or until the stored e-mail exceeds the storage limit

      allowed by Google.

            e.      When the subscriber sends an e-mail, it is initiated at the

      user's computer, transferred via the Internet to Google's servers, and then

      transmitted to its end destination, usually through another subscriber's

      e-mail provider. Copies of sent e-mail are stored on Google's servers in the

      same manner as received e-mail, Google retains the email until the user

      deletes it or exceeds the storage limit.

            f.      Even if the contents of the message no longer exist on the

      company's servers, Google may have records of when a subscriber logged

      into his or her account, when a message was      sent or received, as well as

      technical routing information that         law enforcement could use to

      determine who sent or received an e-mail.

      11.   From my training and expenence, I am aware that Google's

computers contain information and other stored electronic communications

belonging to unrelated third parties. Accordingly, this affidavit and application

for search warrant seeks authorization solely to search the computer accounts

and/ or files for information and the content of communications pertaining to the

Target Account specified herein and in Attachment A, following the procedures

described herein.




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                              PROBABLE CAUSE

      12.   On February 24, 2020, Special Agent Kristopher Serra, Federal

Bureau of Investigation (FBI) assigned in New York state, was working in an

undercover capacity on Kik Messaging Service, a social networking and private

messaging service, internet application.     SA Serra was in a Kik Group titled

"Family fun room (No limits)." SA Serra received a private message from Kik user

"Ranger_danger89," later identified as Adam Ryan Swift, Box Elder, South

Dakota. The name associated with Ranger_danger89 was listed as "Adam Ryan."

During the conversation via Kik Messenger, "Adam Ryan" and SA Serra's

undercover persona (hereinafter "UC") discussed being "active." I know that

"Active" is a chat term used to describe people who are sexually active, usually

meaning with children . During the conversation, "Adam Ryan" stated that he

was "active" with his 4-year-old son and 7-year-old stepson. The UC advised

"Adam Ryan" they were "active" with their 9-year-old stepchild.            As the

conversation continued, they wrote about where each of them lived.        The UC

Persona advised "Adam Ryan" that he lived in New York. "Adam Ryan" stated he

lived in the United States but did not immediately identify where. "Adam Ryan"

asked the UC for photographs of the alleged UC persona's 9-year-old stepchild.

The UC stated he had only clothed images, as he did not keep "nudes" on his

phone. The UC asked "Ryan" if he had photos. "Adam Ryan" replied "Same .

Clothed except one of my stepson." "Adam Ryan" then sent a photograph of

himself that appeared to have been taken in a vehicle. There is a young boy

visible in the back seat of the vehicle in a child restraint seat. "Adam Ryan" sent

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a second photograph of a young boy taken in what appears to be a grocery store

and the child is sitting in a shopping cart.

      13.   The conversation continued and the UC asked "Adam Ryan" if he

preferred "boys or girls." "Adam Ryan" replied "Both." "Adam Ryan" asked the

UC what he preferred. The UC informed him that he had a little girl, but had

never been with a boy. "Adam Ryan" asked the UC to send photographs of the

girl. The UC then sent a UC photograph of a female child. The UC had previously

identified the age of the "girl" as 9 years old. After the UC complied with "Adam

Ryan's" request for photos of his 9-year-old step- daughter, "Adam Ryan" replied

"Yummy, I love them younger than that!" "Adam Ryan" asked the UC what he

had done with the girl. The UC responded, in a manner implying the UC had

engaged in sexual penetration with the child. The UC asked "Adam Ryan", "You

got any vids?" "Adam Ryan" initially responded that he did not have any of him.

The UC then asked for "anything young?" Ryan then sent a video titled:

      Bdd7beac-af8a-4cef-82a3-67e 1052adlf4.mp4 - This is a 1 :49 video of

      an adult male and a female child who appears to be approximately 10-12

      years of age. When the video begins the child is lying on her left side and

      the male is positioned near her buttocks on his knees.        The male is

      masturbating. 6 seconds into the video the video scene changes and the

      child is seen on her back with her legs spread and the adult male is

      vaginally raping her with his penis. The rape continues through 1: 15 in

      the video when the scene again changes to the male masturbating and

      ejaculating on the child's face.

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      14.   Thereafter, the UC commented about the high-heeled shoes the girl

wore in the video . The UC then asked "Adam Ryan" where in the United States

he was located. "Adam Ryan" sent a second video titled:

      933552al-21f8-4b0b-b502-f13b3390aada.mp4 - This 1s a 36 second

      video of a female child who appears to be approximately 5-7 years of age.

      The video shows the female child being orally raped by an adult penis.

      This continues to 32 seconds into the video when the camera pans to the

      child's buttocks.

      15.    After sending the two videos, "Adam Ryan" responded to the UC's

question asking where he lived in the United States. "Adam Ryan" replied "South

Dakota. " The conversation continued and the UC asked "Adam Ryan" "Whats

(sic) your youngest." "Adam Ryan" replied, "My son was 2 when I sucked him. I

ate out a newborn girl fairly often. I babysat her for about a year. Licked her

pussy all the time." The conversation continued and "Adam Ryan" and the UC

discussed whether their wives knew of what they were doing and both stated

their wives did not know. The conversation concluded on February 24, 2020.

      16.   SA Serra prepared a report and sent that to SA Erik Doell, FBI Rapid

City. SA Doell contacted me and asked if the SD ICAC Task Force would conduct

the follow up investigation.   SA Doell provided me the report prepared by SA

Serrra and the results of SA Serra's investigation.   SA Serra had prepared a

subpoena for the IP addresses used to access Kik Messaging Service from

February 11, 2020, through February 24, 2020. Kik Messaging service provided

a list of IP Addresses. The user accessing the Ranger_danger89 account was


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accessmg    Kik   Messenger   through    IP    Address   24. 111. 189 .122,   which

Midcontinent Communication owns.             SA Serra had sent a subpoena to

Midcontinent for the subscriber information for the lessee of this IP Address on

February 24, 2020. Midcontinent responded that the lessee of the IP Address

was Fox Den Store-It, located at 12192 Siouxland Rd., Summerset, SD.

      17.    In addition to the IP information, Kik Messenger identified

aswift889@gmail.com (SUBJECT ACCOUNT) as the email address associated

with the Ranger_danger89 account.

      18.    I conducted a search of local records for Adam Swift based on the

information received from Kik Messenger and Midcontinent Communication. I

located local resident:

      Adam Ryan Swift




      19.    I conducted a search of Facebook.com and located a publicly

accessible page belonging to Adam Swift. In r eview of the information listed on

Adam Swift's Facebook page, I learned that Adam Swift listed he was a sales

manager for Fox Den Store-it in Summerset, SD, the same location where "Adam

Ryan" accessed the Ranger_Danger89 Kik Messenger account. Through further

examination of the information provided by SA Serra and the information on

Swift's Facebook page, I located the same photograph in Facebook as was used

for the Kik Messenger profile photograph for Ranger_danger89.

      20.    I then contacted United States Homeland Security Investigations

Special Agent Scott Beagle. SA Beagle commonly works on line in an undercover
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capacity. I asked SA Beagle to offer Swift the opportunity to communicate with

him via Kik Messaging Service. SA Beagle introduced himself to Swift, via the

Ranger_danger89     Kik    user   account    on   March     10,   2020,   writing,

"24f.26m.5yo.active fam here", meaning, the "family" was made up of a 24-year-

old female, a 26-year-old male and a 5-year-old child who were "active" as

described above.    Swift thereafter responded.     During the conversation, SA

Beagle portrayed himself as a 24-year-old female with a 5-year-old daughter.

Swift informed SA Beagle's UC Persona that he was engaged to be married and

had two children, ages 4 and 6. During the conversation SA Beagle and Swift

exchanged photographs. The photograph provided by Swift again matched the

previously described photographic identification.    SA Beagle asked Swift, "So

what r u into? Looking for?" Swift replied "Into anything no limits. Looking for

other taboo familie s and ideally one that would let me use their daughter one

day." SA Beagle's UC persona stated they have let "outsiders in for our daughter"

and reminded him the "daughter" was 5 years old. Swift replied, "I love it" then

added, "The youngest I've had was 3 ." SA Beagle's persona asked about Swift's

experience. Swift wrote, "Friends (sic) kid and being raised that way." A couple

of messages later SA Beagle's persona asked Swift if he was "active" and if he

was serious about meeting with the UC persona's daughter. Swift replied, "Yes

I'm serious and active".   SA Beagle's persona asked Swift with whom he was

"active" . Swift wrote he was "active" with his son and later added, "I suck him".

Swift and SA Beagle's persona wrote about how long each of them had been

"active" and how they had begun in the "lifestyle".         As the conversation

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continued, SA Beagle's persona asked Swift what Swift wanted to do with the

UC's "daughter". Swift replied, "I'd love to eat her out and fuck her pussy" . SA

Beagle's persona again reminded Swift the child was only 5 years old and not

allowed to engage in penetration. Swift then wrote, "I'll eat her out as much as

I can". Swift asked SA Beagle's persona, "So you don't want to do anything with

my son?" Swift told SA Beagle's persona that she could do "anything you want",

and added "I want to watch you suck him" .         Swift and the UC wrote about

whether their significant others knew about the abuse with the children. Swift

advised his fiance did not know he was abusing his son. As the conversation

continued, Swift asked the UC for photographs of the child. At Swift's prompting,

they also discussed arranging a time to meet and "swap" the children. They

talked about a workable schedule for the meeting. They set Friday, March 20,

2020, as the potential for an initial meeting date.

      21.    Swift continued to write about what the child would like. He asked

the UC, "She enjoy being ate out?" When the UC replied, "Yes". Swift wrote,

"Good! I want her sitting on my face".       Swift asked the UC if he would allow

"gentle fingering" of the girl. Swift went on and asked the UC "She suck (sic)

cock yet?"

      22.    The conversation continued and the UC and Swift further discussed

being in the "lifestyle". Swift informed the UC, "I was used by my dad and brother

and was allowed to eat my sister out but never allowed to fuck her."          The

conversation continued and the UC mentioned a Kik group to which he belonged

and Swift asked if he wanted to join. When Swift answered affirmatively, the UC

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stated Swift could, but that Swift would have to "verify." I know that "verify''

means to send a proof-of-life-type video to show the person is not law

enforcement. Swift agreed and sent a video of himself to the UC. In the video,

Swift was in a car talking to the camera and stated, among other things that,

"Today is March 10th".

      23.   During the conversation, Swift and the UC also wrote about what

each other did for jobs. Swift informed the UC that he was a Manager at Fox

Den Store-it. Swift asked the UC several questions about "her and her husband"

and "the lifestyle" . Swift told the UC, "I think you'll love sucking on my son. He

loves having it done!" He told the UC, "He likes to moan and place his hand on

my head while I do it". When the UC questioned him al:>out the veracity of this

statement, Swift explained, "It's just an orgasmic moan. It's just a simple moan".

Swift asked the UC if "she" wanted him to "prove it". The UC discouraged Swift

from proving he was sexually abusing his son. The conversation on March 10,

2020, concluded shortly after.

      24.   The UC Persona talked about possible meeting dates with Swift,

however Swift wrote that he was going to be out of state in Wisconsin until

Saturday, March 14, .2020. SA Beagle monitored the Ranger_Danger89 account,

but found that Swift had not accessed the account until March 19, 2020, when

the conversation continued.

      25.   On March 19, 2020, SA Beagle received additional messages from

Swift via Kik Messenger. Swift told the UC that he had just gotten back and

asked the UC "how's your princess" . The UC asked Swift if it still worked to meet

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on March 20, 2020. Swift replied, "To show you video and pies?" The UC then

wrote that he meant for the previously discussed meeting on March 20, 2020.

Swift then said he could not meet on March 20, 2020 because he had to work

until 8 pm. He said he would be available to meet over the weekend of March

21 , 2020 and March 22, 2020. The UC asked Swift what he meant by sending

pies and vids". Swift explained, "I can send you pictures and videos of my son

while I play with him". Again, the UC discouraged Swift from doing that. Swift

added that he would be off on Wednesday, March 25 , 2020, and would be

available to meet then. Swift informed the UC that he would create live videos

while he abused his son or would do a live chat while he abused his son. The

UC corrected him about dates available for meeting and Swift wrote that he liked

a woman who "took charge". The UC informed him that she was not into him.

Swift replied, "I know that", "And you aren't really my type, I just like when

women take charge" . Swift then told the UC, "I can't wait to taste your princess's

pussy" . The UC suggested when they met for the first time, that Swift leave his

son at home and Swift could just meet with the UC's daughter.          Swift wrote

"Yeah? I'd love that! ", and added "Have you watch me use her as my own little

fuck toy", "Think she would enjoy my tongue?" and added "I'd love to feel her

tight pussy on a finger too". The UC Persona asked Swift if he would be able to

meet right away.     Swift said he wished that he could, but indicated he was

currently working.

      26.   When the UC confronted Swift that the communications were just

"fantasy," Swift replied, "I'm serious!" and added "I'm very horny and hard for

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her right now." The UC again reminded Swift she was only 5. They then agreed

that Swift would contact the UC at approximately 5:00 pm Mountain time on

March 19, 2020 to inform whether he was available to meet that night. When

Swift replied he said he was not available that night and set a plan to meet either

that weekend or the following Wednesday.

      27.   The same day, Homeland Security Resident Agent in Charge (RAC)

Nick Saroff, conducted surveillance in the area of Fox Den Store-It in

Summerset, SD, the location of which the IP address to the Ranger_danger89

Kik account returned . He was not able to confirm that Swift was at the business

as he said that he would. SA Michelle Pohlen, HSI, conducted surveillance in

the area of Swift's residence. She was not able to locate Swift's vehicle at that

time. She did verify the property information set forth above and obtained the

photographic warrant attachments.        On March 12, 2020, SA Pohlen also

surveilled Swift's apartment complex and located his vehicle, a gray Ford Fusion

bearing SD Veteran's Lie.: 0973G. On March 19, 2020, SA Pohlen checked the

area of Fox Den Store-It at 2810 Eglin St., Rapid City. She located Swift's gray

Ford Fusion and she was able to see Swift inside of the business as she

conducted surveillance.

      28.   On Monday, March 23, 2020, Swift inquired of the UC, "What all do

you want me to do with her on Wednesday?" The UC responde9, "U tell me.

Honestly we dont (sic) care. Been a brat lately" . Swift asked, "Yeah? How so?"

The UC replied, "Just 5yo stuff. Anyway." Swift then wrote, "Oh, ok" and added,

"I'd love to start by bathing her and stroking her young pussy lips in the

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bathwater. Then after she is all dry, have mommy and daddy hold her hands

and legs while I taste her. Once I get her pussy nice and swollen, i (sic) will finger

fuck her good and deep." The UC replied, "Were good with that." Swift then

added, "Good! Where am I allowed to cum? I know not in her pussy, but can I

make her open her mouth for it, or cum on her face, or cum on her pussy?" The

UC said they would discuss specifics on Wednesday.           The UC then inquired

about Swift's son. Swift then wrote, not in response to the UC's question, "Where

do you want to meet first? Or just want me to show up at your house?" Then he

responded regarding his son writing, "He is good. He missed me."

      29 .   The UC then commented on it being good to find "like minded"

people and Swift agreed . The UC then asked about the "groups" Swift was in

and Swift responded, that he was not in any others and "The rest were full of

weirdos with no ACTUAL experience." He added, "There was one that I was in

where everyone was trading some really sexy pictures. But none of them were

of actual people they knew'' and that "real people are more exciting." Swift then

admitted to trying to meet a woman in the past to "have" her three daughters

under 7 but the woman moved away before that could occur.

      30.    Swift informed the UC, "One of my biggest desires 1s to have a

multifamily home where anyone's kids and spouses are fair game for play." Swift

then assured the UC they would meet "tomorrow," the 25th, and again he asked

where they would meet. Swift later asked for a picture of the UC and her "hubby''

and the UC refused. They then discussed the need for secrecy regarding Swift's

abuse of the UC's daughter and he added, "I wouldnt (sic) want it getting around

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what you will do with my son." Swift then wrote, "Have play dates for the kids

as often as possible," and "I'm excited to watch you explore his body and play

with him and let him taste you," and "it will be a great experience." Swift then

sent the UC a picture of a young boy, smiling at the camera. After that, Swift

wrote, "I honestly do want this to become a regular thing with the 5 of us!"

        31.    Swift then wrote of his concerns that his soon-to-be victim would be

"uncomfortable" and "nervous." The UC informed Swift that the girl would like

it if he brought her a coloring book or lip-gloss. The UC further encouraged Swift

to bring her those items because they "were not charging" him for sex with the

girl.

        32 .   When the UC asked Swift what he wanted the UC to do with Swift's

son, Swift responded, "I want to watch you such on his dick and teach him to

lick your pussy. If you wanted to try to get him to slide into you, that would be

a bonus. But whatever you're comfortable with!" Swift then informed the UC he

would help "slide it in" and that he would "hold it up" with his "fingers" and she

could "sit down on it." And, "I'd love to see how he reacts to tasting your pussy.

I think he would love it." Swift then suggested that the two children engage in

sex acts with one another. After asking whether the UC's "daddy" tried to get

the child to "suck him,'' Swift added, "Then I'd like her to do that to me and to

-       ·" -        is his son's name. The UC then verified that Swift was not

bringing his son to the March 25 meeting and Swift agreed it would be "just us

4" and sent a picture of himself in front of storage lockers. Swift then admitted




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that he had been, "turned on and hard all mornmg knowing how close its

getting."

      33.   Later in the communications, Swift said he intended to sexually

abuse his 4-year-old son tonight (March 24, 2020).          Based on that, law

enforcement decided to change plans from meeting on March 25, 2020, to March

24, 2020, to avoid the opportunity for him to abuse his son. The UC asked if

Swift would be willing to meet with her husband in order to put their minds at

ease and to set up the specifics of the sexual encounter on the 25th.     The UC

offered that her husband go to Swift's location of employment to achieve the

meeting, Swift agreed and provided his work's location information, the Fox Den

Store-It on Moon Meadows Rd. in Rapid City. They agreed that the UC's husband

would pull up out front and Swift would leave his work and meet in order for the

UC's husband to make sure the situation was legitimate and to provide Swift

with the address he would go to the following day to sexually abuse the 5-year-

old girl. Swift informed the UC he had a meeting until 4:45pm.

      34.   Several law enforcement officers surveilled that location and verified

Swift's car was there. Swift sent a message to the UC saying his meeting was

over and the UC's husband could go to meet him. Utilizing another local UC

agent, law enforcement proceeded to Swift's work.          Beagle continued to

communicate with Swift and informed Swift of the vehicle description the local

UC was driving.

      35.   Just before 5pm, the local UC pulled into the parking lot of the Fox

Den Store-It and Swift immediately left the office, walked to the passenger side

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of the vehicle and got in. After a brief discussion, Swift told the UC he needed to

assist a customer in exiting the gated area of the storage unit, got out of the UC

vehicle, walked toward the gate, assisted the customer and got back into the UC

vehicle. The UC then mentioned to Swift that he was there to give Swift the

address and Swift mentioned being anxious for the meeting. At that point, I had

law enforcement arrest Swift.

      36.    Swift consented to seizure of his cell phone, laptop computer and

the black and red computer storage backpack (SUBJECT ITEM) in the office .

      37.    Swift agreed to an interview with me.       He admitted it was he

communicating with the UC, but claimed that it was just about the sexual

dialogue and that he would not have engaged in sex with the minor. He also

denied sexually abusing his 4-year-old son. Swift also consented to a polygraph.

The polygraph resulted in Deception Indicated, meaning that Swift failed the

polygraph examination. In the post-polygraph interview, he admitted that when

he was 18 years of age he engaged in a sexual relationship with a girl that may

have been 15 years of age at the time. Swift further admitted that his son had

touched his (Swift's) penis on two occasions. Swift stated his family are "in home

nudists" and he was setting next to his son, when Swift's son (4 year old, -      )

reached over and touched the base of Swift's penis. Swift indicated he had told

his son, that he had his own penis and should not touch others. Swift continued

and admitted that Swift had touched -           's penis on one occasion in the

bathtub.    Swift stated this occurred approximately 2 years prior to 3/24/20.

Swift said he was bathing -       and -        got an erection. Swift said that he

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touched the base o f - ' s penis out of curiosity and described this touch as a

prolonged touch.

  CHARACTERISTICS COMMON TO INDIVIDUALS WHO HAVE A SEXUAL
   INTEREST IN CHILDREN AND/ OR WHO RECEIVE AND/ OR POSSESS
                      CHILD PORNOGRAPHY

      38.   Based on my previous investigative experience related to child

exploitation investigations, and the training and experience of other law

enforcement officers with whom I have had discussions, I know there are certain

characteristics common to individuals who have a sexual interest in children

and/ or receive, or possess images of child pornography:

            a.     Individuals who have a sexual interest m children and/ or

      receive, or possess images of child pornography may receive sexual

      gratification, stimulation, and satisfaction from contact with children, or

      from fantasies they may have viewing children engaged in sexual activity

      or in sexually suggestive poses, such as in person, in photographs, or other

      visual media, or from literature describing such activity.

            b.     Individuals who have a sexual interest in children and/ or

      receive, or possess images of child pornography may collect sexually

      explicit or suggestive materials, m       a variety of media, including

      photographs, magazines, motion pictures, videotapes, books, slides

      and/ or drawings or other visual media. Individuals who have a sexual

      interest in children or images of children oftentimes use these materials

      for their own sexual arousal and gratification. Further, they may use these

      materials to lower the inhibitions of children they are attempting to


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     seduce, to arouse the selected child partner, or to demonstrate the desired

     sexual acts .

           c.        Individuals who have a sexual interest in children and/ or

     receive, or possess images of child pornography almost always possess and

     maintain their hard copies of child pornographic material, that is, their

     pictures,   films,    video   tapes,        magazmes,   negatives,   photographs,

     correspondence, mailing lists, books, tape recordings, etc., in the privacy

     and security of their home or some other secure location. Individuals who

     have a sexual interest in children or images of children often retain

     pictures, films, photographs, negatives, magazines, correspondence,

     books, tape recordings, mailing lists, child erotica, and videotapes for

     many years .

           d.        Likewise, individuals who have a sexual interest in children

     and/ or receive, or possess images of child pornography often maintain

     their child pornography images in a digital or electronic format in a safe,

     secure and private environment, such as a computer and surrounding

     area. The user often maintains these child pornography images for several

     years and are kept close by, usually at the possessor's residence, inside

     the possessor's vehicle, or, at times, on their person, to enable the

     individual to view the child pornography images, which are valued highly.

           e.        Individuals who have a sexual interest in children and/ or

     receive, or possess images of child pornography also may correspond with

     and/ or meet others to share information and materials, rarely destroy

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      correspondence from other child pornography distributors/possessors,

      conceal such correspondence as they do their sexually explicit material,

      and often maintain lists of names, addresses, and telephone numbers of

      individuals with whom they have been in contact and who share the same

      interests in child pornography.

            f.     Individuals who have a sexual interest in children and/ or

      receive, or possess images of child pornography prefer not to be without

      their child pornography for any prolonged time-period. Law enforcement

      officers involved in the investigation of child pornography throughout the

      world have documented this behavior. Thus, even if the unknown user

      uses a portable device (such as a mobile cell phone) to access the internet

      and child pornography, it is more likely than not that evidence of this

      access will be found within the SUBJECT ACCOUNT.

        INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

      39.    I   anticipate   executing    this   warrant   under   the   Electronic

Communications Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(l)(A)

and 2703(c)(l)(A), by using the warrant to require Google, Inc. to disclose to the

government copies of the records and other information (including the content

of communications) particularly described in Attachment A and Section I of

Attachment B.     Upon receipt of the information described in Section I of

Attachment B, government-authorized persons will review that information to

locate the items described in Section II of Attachment B.




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                                   JURISDICTION

      40.    This Court has jurisdiction to issue the requested warrant because

it is "a court of competent jurisdiction" as defined by 18 U.S.C. § 2711(3).         18

U.S.C . §§ 2703(a), (b)(l)(A) & (c)(l)(A). Specifically, this Court is a "district court

of the United States (including a magistrate judge of such court)" that "has

jurisdiction over the offense being investigated." 18 U.S.C. § 2711(3)(A)(i).

       REQUEST/JUSTIFICATION FOR ORDER OF NONDISCLOSURE

      41.    The United States respectfully applies for an order of nondisclosure

to Google, Inc. under 18 U.S.C. § 2705(b) regarding the following account:

aswift889@gmail.com.      The United States is seeking this search warrant for

subscriber information, including all names, addresses, IP addresses, including

historical, telephone numbers, other email addresses, information on length and

types of services and any means of payment related to these accounts under the

authority given by 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and 2703(c)(l)(A). Based

on § 2703(c)(3), the United States is not required to provide notice to the

subscriber. Under § 2705(b), the United States may apply to the court for an

order commanding Google, Inc . not to notify the subscriber of the existence of

the search warrant. The court may decide what length of time shall apply to the

order of nondisclosure if the court determines the notification to the subscriber

could result in one of the five factors listed in the statute, which includes

destruction of or tampering with evidence. 18 U.S.C. § 2705(b)(3). The basis for

the request is that such disclosure could cause any person with access to the

accounts, or any related account or account information, to tamper with or

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modify the content or account information and thereby destroy or tamper with

evidence and otherwise seriously jeopardize the investigation. Especially due to

the ease of access to Google, Inc., persons can modify its content with internet

access and sufficient account information.          As such, the United States

respectfully requests this Court enter an order commanding Google, Inc. not to

notify the user of the existence of this warrant.

                          LIMIT ON SCOPE OF SEARCH

        42.   I submit that if during the search, agents find evidence of crimes

not set forth in this affidavit, another agent or I will seek a separate warrant.

                                  CONCLUSION

        43.   Based on my training and experience, and the facts as set forth in

this affidavit, there is probable cause to believe that on computer systems owned,

maintained, controlled and/ or operated by Google, Inc., there exists evidence of

a crime, contraband, instrumentalities, and/ or fruits of violations of criminal

laws as specified herein, including identification of the person who used the

electronic accounts described in Attachment A. The facts outlined above show

that the Google, Inc. account, listed in Attachment A has been used for the

exploitation of children using the internet including violations of 18 U.S.C. §§

2251,    2252,   and   2252A   (production,   receipt and    possession    of child

pornography), which items are more specifically described in Attachment B.

There is probable cause to believe that the unidentified user of the Gmail account

received child pornography and thereby violated the aforementioned statutes in

the District of South Dakota and elsewhere. The account is the subject of this

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warrant affidavit. Th e account is: aswift889@gmail.com.

      44.    Law Enforcement agents will serve the warrant on Google, Inc ., who

will then compile the requested records at a time convenient to it, so there exists

reasonable cause to permit the execution of the requested warrant at any time

in the day or night.     Pursuant to 18 U.S .C. § 2703(g), the presence of a law

enforcement officer is not required for the service or execution of this warrant.

      45 .   For these reasons, I request authority to seize all electronic

communications and other content stored in the Target Account, to be searched

off-site in a controlled environment. Law enforcement officers and agents will

review the records sought by the search warrant and will segregate any messages

and content constituting evidence, fruits or instrumentalities of violations of

federal criminal law. Additionally, I request authority to serve the warrant on

Google, Inc . via the internet and to allow Google, Inc. to copy the data outside of

this agent's presence.

                  RETURN COMPLIANCE BY GOOGLE, INC.

      46 .   Google's policies prohibit mailing or emailing child pornography to

law enforcement in response to a search warrant, instead requiring a law

enforcement officer to personally appear and collect contraband materials,

unless the means of production is explicitly described in that search warrant.

Specifically, Google requires the Court order the disclosure, notwithstanding 18

U.S.C. § 2252A or similar statute or code.

      Further your affiant saith not.




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                                               isory pecial Agent Brent
                                          Gromer, SD DCI and SD ICAC
                                          Commander, FBI TFO

SUBSCRIBED and SWORN to

_ _ 1n my presence

_X_ by reliable electronic means

this _1st
       __   day of April, 2020 .



DANETA WOLLMANN
U.S. MAGISTRATE JUDGE




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                             ATTACHMENT A
                          Property to Be Searched

      This warrant applies to the contents of and information associated with

the following Gmail email account, under an account known to be stored at the

premises controlled by Google, Inc. , a company that accepts service of legal

process at 1600 Amphitheatre Parkway, Mountain View, California 94043:

aswift889@gmail .com




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                                  ATTACHMENT B
                  Particular Things to be Seized and Procedures
                      to Facilitate Execution of the Warrant

   I.        Information to be disclosed by Google, Inc. (the "Provider") to
             facilitate execution of the warrant:

        To the extent that the information described in Attachment A is within the

possession, custody, or control of Google Inc., including any emails, records,

files, logs, or information that have been deleted but are still available to Google

Inc., or have been preserved pursuant to a request made under 18 U.S.C. §

2703(f) on . March 17, 2020 . Google Inc. is required to disclose the following

information to the government for each account or identifier listed in Attachment

A, including any information contained in the email account which is helpful to

determine the accounts' user's or owner's true identity:

        a.     The contents of all e-mails associated with the account, from the

time of the account's creation to the present, including stored or preserved copies

of emails sent to and from the account, email attachments, draft emails, deleted

emails, the source and destination addresses associated with each email, the

date and time at which each email was sent, and the size and length of each e-

mail;

        b.     The contents of all Instant Messages (IM) associated with the

account, from the time of account's creation to the present, including stored or

preserved copies of IMs sent to and from the account, IM attachments, draft IMs,

the source and destination addresses associated with each IM, the date and time

at which each IM was sent, and the size and length of each IM;



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      c.     All records or other information regarding the identification of the

account, to include full name, physical address, telephone numbers and other

identifiers, records of session times and durations, the date on which the

account was created, the length of service, the IP addresses used to register the

account, all log-in IP addresses associated with session times and dates, account

status, alternative e-mail addresses provided during registration, methods of

connecting, log files, and means and source of payment (including any credit or

bank account number);

      d.     The types of services utilized;

      e.     All records or other information stored by an individual using the

accounts, including address books, contact and buddy lists, calendar data,

pictures, and files;

      f.     All records pertaining to communications between Google Inc. and

any person regarding the accounts, including contacts with support services and

records of actions taken.




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II.          Information to be s eized by the government

      1.     All information described above in Section I that was created or

saved after the creation of the account that is the subj ect of this warrant and

that constitutes contraband or fruits, evidence or instrumentalities of violations

of 18 U.S.C. §§ 2251, 2252, 2252A, (production, receipt and possession of child

pornography) including, for the account or identifiers listed on Attachment A,

information pertaining to the following matters:

      a.   Any person employing, using, persuading, inducing, enticing, or

           coercing any minor to engage in any sexually explicit conduct for the

           purpose of producing any visual depiction of such conduct or for the

           purpose of transmitting a live visual depiction of such conduct, or

           attempting or conspiring to do so;

      b.   Any person knowingly distributing, rece1vmg, or possessmg child

           pornography as defined at 18 U.S.C. § 2256(8), or attempting or

           conspiring to do so;

      c.   Any person knowingly persuading, inducing, enticing, or coercing any

           individual who has not attained the age of 18 years, to engage in any

           sexual activity for which any person can be charged, or attempting to

           do so;

      d.   Evidence indicating how and when the email account was accessed or

           used, to determine the geographic and chronological context of

           account access, use, or events relating to the crime under investigation

           and to the email account owner or user;

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      e.   Evidence indicating the email account users or owner's state of mind

           as it relates to the crime under investigation;

      f.   The identity of the person(s) who created or used the user ID, including

           records that help reveal the whereabouts of such person(s);

      g.   Records relating to who created, used, or communicated with the

           electronic account or identifier listed in Attachment A about matters

           relating to the criminal activity listed above, including identification of

           coconspirators, · accomplices,     and   aiders   and   abettors   m   the

           commission of the above offenses, including records that help reveal

           their whereabouts.

      2.     Credit card information and money wire transmittal information,

including bills, payment records , and any receipts, for payments to third party

money remitters, including Xoom.com, Western Union, PayPal, and MoneyGram.

      3.     Evidence of who used, owned, or controlled the account or identifier

listed on Attachment A, including evidence of their whereabouts;

      4.     Evidence of the times the user utilized the account or identifiers

listed on Attachment A;

      5.     Passwords and encryption keys, and other access information that

may be necessary to access the accounts or identifier listed on Attachment A and

other associated accounts.




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   III.      Information Regarding Search Warrant Compliance by Google:

          Google shall disclose responsive data, if any, by sending to:

                      Special Agent Brent Gromer
                      _ _ Fountain Springs Plaza
                      Rapid City, SD 57702
                      605-381-1 734
                      Brent. Gromer@state.sd. us

          Google shall use the United States Postal Service or another courier service

to disclose the responsive data, notwithstanding 18 U.S .C. § 2252A or similar

statute or code.       In the alternative, Google may make the responsive data

available to Special Agent Gromer by use of its law enforcement portal.




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               CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                BUSINESS RECORDS PURSUANT TO FEDERAL
                    RULE OF EVIDENCE 902(11) and (13)

       I, _ _ _ _ _ _ _ _ _ _ _ __ _ , attest, under penalties of perjury

under the laws of the United States of America pursuant to 28 U.S.C. § 1746,

that the information contained in this declaration is true and correct. I am

employed by Google Inc., and my official title is _ _ _ __ __ _ _ _ _ __

I am a custodian of records for Google Inc. I state that each of the records

attached hereto is the original record or a true duplicate of the original record

in the custody of Google Inc ., and that I am the custodian of the attached

records consisting of _ _ _ _ (pages/CDs/kilobytes) . I further state that:

       a.    all records attached to this certificate were made at or near the

time of the occurrence of the matter set forth, by, or from information

transmitted by, a person with knowledge of those matters;

       b.    such records were kept in the ordinary course of a regularly

conducted business activity of Google Inc.; and

       c.    such records were made by Google Inc. as a regular practice.

       I further state that this certification is intended to satisfy Rule 902(11) of

the Federal Rules of Evidence .



Date                              Signature




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